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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ANDREW CORZO, SIA HENRY, ALEXANDER                      Case No. 1:22-cv-00125
LEO-GUERRA, MICHAEL MAERLANDER,                         Judge Matthew F. Kennelly
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and CAMERON
WILLIAMS, individually and on behalf of all others
similarly situated,
                          Plaintiffs,

       v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,
                      Defendants.

      DEFENDANTS’ MOTION TO COMPEL DISCOVERY FROM PLAINTIFFS

       Pursuant to Rules 26, 34, and 37 of the Federal Rules of Civil Procedure and Local Rule

37.2, Defendants Brown University, California Institute of Technology, University of Chicago,

The Trustees of Columbia University in the City of New York, Cornell University, Trustees of

Dartmouth College, Duke University, Emory University, Georgetown University, The Johns

Hopkins University, Massachusetts Institute of Technology, Northwestern University, University

of Notre Dame Du Lac, The Trustees of the University of Pennsylvania, William Marsh Rice


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University, Vanderbilt University, and Yale University (“Defendants”) respectfully request that

this Court compel Plaintiffs, Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael

Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron

Williams, individually and on behalf of all others similarly situated (“Plaintiffs”) to produce the

discovery described below. In support of this motion, Defendants submit a Memorandum in

Support of Defendants’ Motion to Compel Discovery from Plaintiffs and state as follows:

       1.      Interrogatory Nos. 1-3 in Defendants’ First Set of Interrogatories to Plaintiffs seek

discovery that is relevant to a party’s claim or defense and proportional to the needs of the case.

       2.      Request Nos. 1-3, 5-7, 11-12, 18-21, and 23-26 in Defendants’ First Set of Requests

for Production of Documents Directed to Plaintiffs seek discovery that is relevant to a party’s claim

or defense and proportional to the needs of the case.

       WHEREFORE, Defendants respectfully request that Plaintiffs be compelled to respond in

full to the above-described interrogatories and requests for production.



Dated: January 13, 2023                       Respectfully submitted,


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